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                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF VIRGINIA
                                  Norfolk Division




UNITED STATES OF AMERICA

v.                                                    ACTION NO. 2:05CR17

TABITHA SHIRREL JACKSON NELSON,

              Defendant.



                             REPORT AND RECOMMENDATION1
                             CONCERNING PLEA OF GUILTY


       The Defendant, by consent, has appeared before me pursuant to

Federal Rule of Criminal Procedure 11, and referral from a United

States District Judge and has entered a plea of guilty to Counts

One,       Nineteen,    and    Thirty-Seven      of    the   Second   Superseding

Indictment. After cautioning and examining the Defendant under oath

concerning each of the subjects mentioned in Rule 11, I determined

that the guilty plea was knowledgeable and voluntary, and that the

offense charged is supported by an independent basis in fact

establishing each of the essential elements of such offense.                    I

therefore recommend that the plea of guilty be accepted and that

the    Defendant       be    adjudged   guilty   and    have   sentence   imposed


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     Failure to file written objections to this Report and
Recommendation within ten (10) days from the date of its service
shall bar an aggrieved party from attacking such Report and
Recommendation before the assigned United States District Judge.
28 U.S.C. § 636(b)(1)(B).
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accordingly.

      I   further   certify    that       a   copy   of   this   Report   and

Recommendation was this day delivered to counsel for the United

States and to counsel for the defendant.

      DONE AND ENTERED at Norfolk, Virginia, this 28th day of June,

2005.



                                            /s/
                                   Tommy E. Miller
                                   United States Magistrate Judge

Norfolk, Virginia




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